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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH CAROLINA
                                     AIKEN DIVISION


Milton Lewis,                                            Civil Action No. 1:07-3231-MBS

                                Plaintiff,

                vs.                                              COMPLAINT
                                                              (jury trial requested)
Norfolk/Southern
Railroad, Inc.

                              Defendant.



The Plaintiff, complaining of the Defendant herein would respectfully show unto this Honorable
Court:

                                    JURISDICTION

1. This Action arises under the common law and the Laws and Constitution of the state of South
   Carolina.

2. Subject matter is conferred upon this court by 28 USC § 1332 and § 1336.
   Defendant is a foreign corporation.

                                         PARTIES

3. The Plaintiff is a citizen of the United States of America and resident of the County of
   Richland, State of South Carolina.

4. That Defendant is, upon information and belief, a corporation duly organized and existing
   under the laws of one of the states of the United States of America, other than the state of
   South Carolina
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                                 FACTUAL ALLEGATIONS

5. That on or about the sixth day of January, 2005, a train owned and operated by the Defendant
   was approaching Graniteville South Carolina. This train was carrying chlorine gas, among
   other chemicals.

6. Earlier, another, second train, also owned and operated by the defendant had been diverted
   off of the main track onto a side track at Graniteville, where it had been parked.

7. That the tracks, on which both trains were operating, were under the control of
    and were the responsibility of the Defendant.

8. That the Defendant, by and through its agents and servants, failed to properly reline
    the track by which the second train had been diverted off the main track onto the side track.

9. That the Defendant, by and through its agents and servants, left the green, go signal, on the
   main track.

10. That the Defendant’s first train proceeding down the main track, at a high rate of speed was
   diverted onto the side track causing it to collide with great force with the second train of the
   Defendant.

11. That subsequently, the chlorine gas and other chemicals, carried by the first train were
    released, contaminating various portions of the town of Graniteville including Avondale
    Mills.

12. That the contamination of Avondale Mills caused it to be closed down. On July 23, 2005,
    Plaintiff was employed at Avondale Mills to clean up the contamination caused by the
    wreck of the Defendant’s trains.

13. That the Plaintiff worked at cleaning up Avondale Mills, from July 23, 2005 until December
    17, 2005.

14. That the Defendant gave the Plaintiff no notice or warning of the inherent danger of such
    work or what precautions should be taken against such inherent dangers.
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15. That the chlorine and sodium hydroxide and other chemical contamination present in
    Avondale Mills, was inhaled by the Plaintiff in the course of his work, causing severe and
    permanent injury to his lungs.

                             FOR A FIRST CAUSE OF ACTION
                                     (Negligence I)


16. Plaintiff herein repeats and reiterates each and every allegation contained in the preceding
    paragraphs as though set forth herein verbatim.

17. Defendant was willful, wanton, reckless, grossly negligent and careless in each of the
    following particulars:
       a. In failing to properly reline the tracks after pulling the second train onto the side track;

       b. In failing to change the green go signal on the main track to stop or caution;

       c. In failing to check or inspect the rails to be sure they were properly aligned;

       d. In failing to provide a monitoring system to indicate that the rails to the main track had not been
         properly realigned;

       e. In failing to provide a switching system that would automatically lock the main track rails in
         perfect alignment after the side tracking of a train off the main track;

       f. And, in otherwise failing to exercise that degree of care and caution, which was due considering
         the severity of the damage likely to occur in the event of a mishap.


18. That as a direct result and consequence of the Defendant’s willful, wanton, grossly
    negligent, negligent and careless actions, Plaintiff suffered physical pain and discomfort,
    was hospitalized, underwent medical treatment, resulting in medical bills, suffered extreme
    emotional distress and anguish, loss of income, the quality of his life was diminished, and he
    was totally and permanently disabled, and is expected in the future to suffer physical pain
    and discomfort, hospitalization, medical treatment, medical bills, emotional distress and
    anguish, loss of income, loss of quality-of-life, and reduction of his life expectancy.
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                             FOR A SECOND CAUSE OF ACTION
                                     (Negligence II)

12. Plaintiff herein repeats and reiterates each and every allegation contained in the preceding
    paragraphs as though set forth herein verbatim.

13. Defendant was willful, wanton, reckless, grossly negligent and careless in each of the
    following particulars:
       a. In failing to provide the Plaintiff of any notice or warning, of any kind, of the inherent danger
          to the Plaintiff involved with cleanup, of the Avondale Mills contamination, even though the
          Defendant either knew or should have known of the dangers involved with the chemicals, it
          was transporting;

       b. In failing to provide the Plaintiff with any training or information regarding how to minimize or
         avoid the dangers associated with cleanup of the Avondale Mills;

       c. In failing to provide the Plaintiff with the proper protective gear and equipment to protect him
         in the cleanup of the Avondale Mills;

       d. In failing to prevent access to Avondale Mills by anyone not properly trained or equipped to
         safely deal with the cleanup of the Mill;

       e. In exposing the Plaintiff to toxic chemicals, including chlorine and sodium hydroxide;

       f.. And, in otherwise failing to exercise that degree of care and caution, which was due
          considering the severity of the damage likely to occur in the event of plaintiff going unawares
          into Avondale Mills, to clean up the contamination.


14. That as a direct result and consequence of the Defendant’s willful, wanton, grossly
    negligent, negligent and careless actions, plaintiff suffered physical pain and discomfort,
    was hospitalized, underwent medical treatment, resulting in medical bills, suffered extreme
    emotional distress and anguish, loss of income, the quality of his life was diminished, and he
    was totally and permanently disabled, and is expected in the future to suffer physical pain
    and discomfort, hospitalization, medical treatment, medical bills, emotional distress and
    anguish, loss of income, loss of quality-of-life, and reduction of his life expectancy.
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                            FOR A THIRD CAUSE OF ACTION
                                     (Battery)

15. Plaintiff herein repeats and reiterates each and every allegation contained in the preceding
    paragraphs as though set forth herein verbatim.

16. The Defendant did cause chemical fumes, including chlorine and sodium hydroxide, to enter
    into and contact the Plaintiff’s lungs, impacting them in a rude and offensive manner.

17. That as a direct result and consequence of the Defendant’s battery, Plaintiff suffered
   physical pain and discomfort, was hospitalized, underwent medical treatment, resulting in
   medical bills, suffered extreme emotional distress and anguish, loss of income, the quality of
   his life was diminished, and he was totally and permanently disabled, and is expected in the
   future to suffer physical pain and discomfort, hospitalization, medical treatment, medical
   bills, emotional distress and anguish, loss of income, loss of quality-of-life, and reduction of
   his life expectancy.

   WHEREFORE, Plaintiff prays for judgment against the Defendant for his actual and punitive
damages, for the cost of this action, and for such other and further relief as this Court may deem
just and equitable.




                                            BY s/William Gary White
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Columbia, South Carolina
September 25, 2007
